                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 17-10450-aih
Elba Padua                                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: mgaug                        Page 1 of 1                          Date Rcvd: Aug 12, 2019
                                      Form ID: pdf801                    Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 14, 2019.
db             +Elba Padua,   1943 East 32nd Street,   Lorain, OH 44055-1926
cr              eCAST Settlement Corporation,   PO Box 29262,   New York, NY 10087-9262

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
cr             +E-mail/Text: bncmail@w-legal.com Aug 12 2019 22:45:06     Comenity Capital Bank,
                 C/O WEINSTEIN & RILEY, P.S.,   2001 WESTERN AVENUE, STE 400,   Seattle, WA 98121-3132
cr              E-mail/Text: JCAP_BNC_Notices@jcap.com Aug 12 2019 22:45:11     Jefferson Capital Systems LLC,
                 PO Box 7999,   Saint Cloud, MN 56302-9617
cr             +E-mail/Text: bncmail@w-legal.com Aug 12 2019 22:45:06     Synchrony Bank,
                 c/o Weinstein & Riley, PS,   2001 Western Avenue Suite 400,   Seattle, WA 98121-3132
                                                                                            TOTAL: 3

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 14, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 12, 2019 at the address(es) listed below:
              Lauren A. Helbling   ch13trustee@ch13cleve.com, lhelbling13@ecf.epiqsystems.com
              William J. Balena   on behalf of Debtor Elba Padua docket@ohbksource.com, debra@ohbksource.com
                                                                                            TOTAL: 2




         17-10450-aih           Doc 40       FILED 08/14/19            ENTERED 08/15/19 00:18:56                    Page 1 of 3
  The court incorporates by reference in this paragraph and adopts as the findings
  and orders of this court the document set forth below. This document was signed
  electronically on August 12, 2019, which may be different from its entry on the record.



  IT IS SO ORDERED.                                  ENTERED UNDER ADMINISTRATIVE
                                                     ORDER NO. 02-10: JOSIAH C. SELL,
                                                     ACTING CLERK OF BANKRUPTCY COURT
                                                     BY: ____________________________
                                                         /s/ Michael Gaughan
  Dated: August 12, 2019                                 Deputy Clerk




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


In re: Elba Padua                              ) Case Number 17-10450
                                               ) Chapter 13 Proceedings
       Debtor                                  ) Judge Arthur I. Harris


      ORDER GRANTING CHAPTER 13 TRUSTEE’S MOTION FOR EXAMINATION
                  PURSUANT TO BANKRUPTCY RULE 2004


   Upon consideration of the Trustee’s Motion for Examination pursuant to Bankruptcy Rule 2004,
and for good cause shown:

   IT APPEARS to the Court that the Trustee’s Motion for examination pursuant to Bankruptcy Rule
2004 is well taken and will be granted.

   IT IS ORDERED that, pursuant to the Trustee’s Motion, Elba Padua, as well as counsel of record,
William J. Balena, will appear for examination pursuant to Bankruptcy Rule 2004 at the following
time and place:




17-10450-aih    Doc 40     FILED 08/14/19      ENTERED 08/15/19 00:18:56          Page 2 of 3
                          Wednesday, September 4, 2019, at 10:30 AM

                                  341 Meeting Room, 6th Floor
                                United States Bankruptcy Court
                             Howard M. Metzenbaum U.S. Courthouse
                                     201 Superior Avenue
                                     Cleveland OH 44114


       IT IS FURTHER ORDERED that the Debtor is required to bring to this examination all the
documents and records as listed and requested in the Trustee’s motion for examination. Failure to
comply with this Order and appear for examination is cause for dismissal of this case. Submission to
the Trustee of the documents requested will not excuse the Debtor and counsel from appearing at the
U.S. Bankruptcy Courthouse for examination at the designated time.

                                           Submitted by:

                                           /S/ Lauren A. Helbling
                                           LAUREN A. HELBLING (#0038934)
                                           Chapter 13 Trustee
                                           200 Public Square, Suite 3860
                                           Cleveland OH 44114-2321
                                           Phone (216) 621-4268       Fax (216) 621-4806
                                           ch13trustee@ch13cleve.com



                                           SERVICE LIST


Lauren A. Helbling, Chapter 13 Trustee, (served via ECF)

William J. Balena, Attorney for Debtor (served via ECF)

Elba Padua, Debtor
1943 East 32nd St.
Lorain OH 44055




                                                ###




17-10450-aih     Doc 40     FILED 08/14/19      ENTERED 08/15/19 00:18:56          Page 3 of 3
